                     Case 1:20-mj-00955-SCY Document 4 Filed 03/17/20 Page 1 of 1

                                             CLERK’S MINUTE SHEET
                                    IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                            Before the Honorable B. Paul Briones
                                           Initial Appearance/Preliminary Hearing
Case Number:                20-MJ-955                                UNITED STATES vs. JUSTICE
Hearing Date:               3/17/2020                                Time In and Out:          10:26 am – 10:36 am
Courtroom Deputy:           K. Dapson                                Courtroom:                Rio Grande
                                                                                               Robert Gorence for limited
Defendant:                  Charles Brent Justice                    Defendant’s Counsel:
                                                                                               purpose
AUSA:                       Jon Stanford                             Pretrial/Probation:                    A. Galaz
Interpreter:                                                         Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant wants Court appointed counsel
☒     Government moves to detain                                     ☐ Government does not recommend detention
                                                                     on Wednesday, March 18,
☒     Set for Detention Hearing
                                                                     2020
                                                                                                      @ 2:30 pm

Preliminary/Show Cause/Identity
☒     Defendant waives Preliminary Hearing
☒     Court finds probable cause                                     ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
☒     Defendant detained pending hearing
☐     Conditions
Other
☐     Matter referred to     for Final Revocation Hearing
☒     Deft to fill out a financial affidavit to determine counsel;
